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                             EXHIBIT A
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Pollaro, Robert

From:                                     Douglas A. Foss <DFoss@HarrisBeach.com>
Sent:                                     Thursday, January 24, 2019 11:05 AM
To:                                       Pollaro, Robert
Cc:                                       Kyle D. Gooch
Subject:                                  RE: NewMarket v VetPharm


Sorry for the delay in responding to your e-mail, but we’ve had some difficulty in getting AAA to supply us the
information/explanations we’ve been seeking. However, it now appears that there’s no choice but to file wholly anew, and we are
considering various options in light of that information. Once we reach a firm decision we’ll advise you promptly.


Douglas A. Foss
Partner


HARRIS BEACH PLLC
ATTORNEYS AT LAW
99 Garnsey Road
Pittsford, NY 14534
585.419.8612 Direct
585.419.8801 Fax
585.419.8800 Main
Website | Bio | Add to Contacts


practiceGREEN
Save a tree. Read, don't print, emails.

From: Pollaro, Robert <Robert.Pollaro@cwt.com>  
Sent: Wednesday, January 16, 2019 1:50 PM 
To: Douglas A. Foss <DFoss@HarrisBeach.com> 
Subject: NewMarket v VetPharm 
 
Douglas, 
 
Happy New Year.  I hope all is well.  I am following up on my pre‐holiday call to you regarding arbitration.  On our call 
you indicated that you were attempting to find out whether or not you could re‐institute the prior arbitration that 
VetPharm withdrew or if VetPharm would have to file for a new arbitration.  Do you have an update? 
 
Regards, 
 
Robert 
 
 
Robert Pollaro
Cadwalader, Wickersham & Taft LLP
200 Liberty Street, New York, NY 10281
Tel: +1 (212) 504‐6484 | Fax: +1 (212) 504‐6666
Robert.Pollaro@cwt.com | www.cadwalader.com
  
 

 

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responsibility of the recipient to ensure that it is virus free and no responsibility is accepted by Cadwalader, Wickersham 
& Taft LLP for any loss or damage arising in any way from its use. 




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                             EXHIBIT B
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                                            Commercial
                                            Arbitration Rules and Mediation Procedures

                                            Including Procedures for Large, Complex Commercial Disputes




                                            Available online at    adr.org/commercial
                                            Rules Amended and Effective October 1, 2013
                                            Fee Schedule Amended and Effective July 1, 2016
           Rules Amended and Effective October 1, 2013. Fee Schedule Amended and Effective July 1, 2016.   COMMERCIAL RULES 1
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           the cost of any proof produced at the direct request of the arbitrator, shall be
           borne equally by the parties, unless they agree otherwise or unless the arbitrator
           in the award assesses such expenses or any part thereof against any speciﬁed
           party or parties.

           R-55. Neutral Arbitrator’s Compensation

           (a) Arbitrators shall be compensated at a rate consistent with the arbitrator’s stated
               rate of compensation.
           (b) If there is disagreement concerning the terms of compensation, an appropriate
               rate shall be established with the arbitrator by the AAA and conﬁrmed to the
               parties.
           (c) Any arrangement for the compensation of a neutral arbitrator shall be made
               through the AAA and not directly between the parties and the arbitrator.


           R-56. Deposits

           (a) The AAA may require the parties to deposit in advance of any hearings such sums
               of money as it deems necessary to cover the expense of the arbitration, including
               the arbitrator’s fee, if any, and shall render an accounting to the parties and return
               any unexpended balance at the conclusion of the case.
           (b) Other than in cases where the arbitrator serves for a ﬂat fee, deposit amounts
               requested will be based on estimates provided by the arbitrator. The arbitrator will
               determine the estimated amount of deposits using the information provided by
               the parties with respect to the complexity of each case.
           (c) Upon the request of any party, the AAA shall request from the arbitrator an
               itemization or explanation for the arbitrator’s request for deposits.


           R-57. Remedies for Nonpayment

           If arbitrator compensation or administrative charges have not been paid in full,
           the AAA may so inform the parties in order that one of them may advance the
           required payment.

           (a) Upon receipt of information from the AAA that payment for administrative
               charges or deposits for arbitrator compensation have not been paid in full, to
               the extent the law allows, a party may request that the arbitrator take speciﬁc
               measures relating to a party’s non-payment.
           (b) Such measures may include, but are not limited to, limiting a party’s ability to
               assert or pursue their claim. In no event, however, shall a party be precluded from
               defending a claim or counterclaim.



         30   RULES AND MEDIATION PROCEDURES                                          American Arbitration Association
